            UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA


David Clark, et al

       v.                                  Case Number:     1:16CV1044

Duke University, et al



                                        NOTICE
       Take notice that a proceeding in this case has been set as indicated below:

             PLACE:          L. Richardson Preyer Bldg., 324 W. Market Street,
                             Greensboro, N.C.
COURTROOM NO.:               G-3
 DATE AND TIME:              July 8, 2019 - 9:30 a.m. (subject to Court’s
                             scheduling conflicts)
      PROCEEDING:            Bench Trial


____________________________________________________________________________

John S. Brubaker, Clerk

By: /s/ Marlene Sanders, Deputy Clerk


Date: August 3, 2018


TO:    ALL COUNSEL AND/OR PARTIES OF RECORD




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